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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION


 EXXON MOBIL CORPORATION,                   )
                                            )
           Plaintiff,                       )          Case No. 3:16-cv-2921-N-BH
                                            )
           v.                               )
                                            )
 UNITED STATES OF AMERICA,                  )
                                            )
           Defendant.                       )
 _______________________________________ ___)




                          ORDER REGARDING PARTIAL
                     SUMMARY JUDGMENT BRIEFING SCHEDULE

       Pursuant to the parties’ joint motion, Exxon Mobil’s response/reply brief with respect to

the pending motions for partial summary judgment is due March 29, 2018, and the United States’

reply brief is due April 12, 2018.




       Signed March 16, 2018.



                                                    _____________________________
                                                    David C. Godbey
                                                    United States District Judge
